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SOUTHERN DISTRICT OF NEW YORK
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MICHAEL DARDASHTIAN, individually and
on behalf of COOPER SQUARE VENTURES,
LLC, NDAP, LLC and CHANNELREPLY,                                  17 CV 4327 (ER)

                                             Plaintiffs,

                  -against-

DAYID GITMAN, JEREMY FALK, SUMMIT                                 ORDER AMENDING 6/8/17
ROCK HOLDINGS, LLC, ACCEL COMMERCE,                               ORDER TO SHOW CAUSE
LLC, DALVA VENTURES, LLC, KONSTANTYN                              FOR PRELIMINARY
BAGAIEV, OLESKSII GLUKHAREV and                                   INJUNCTION AND
CHANNEL REPLY, INC.,                                              TEMPORARY RESTRAINTS

         Defendants.
-------------------------------------------------------------)(

         Upon the conference call held on June 9, 2017, with all parties appearing by telephone

before the Honorable Edgardo Ramos, U.S.D.J., to amend only paragraphs "b" "g" and "s", on

pages 5, 6 and 8, respectively, of Plaintiffs' ORDER TO SHOW CAUSE FOR PRELIMINARY

INJUNCTION AND TEMPORARY RESTRAINTS entered by the Court on June 8, 2017

("OSC"), and the remainder of the Court's OSC to remain in full force and effect except as

expressly modified herein, it is hereby

         ORDERED, that paragraph "'b" on page 5 of the OSC, shall hereby be amended as

follows:

"b.      Directing Defendant Gitman to redeposit into the CSV Bank of America banking account

all monies withdrawn by him and pay any overdraft fees incurred since May 27 1h, 2017, the date

on which he withdrew the company's funds, no later than 5:00 p.m. on Tuesday, June 13, 201 T';




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         ORDERED, that paragraph "g" on page 6 of the OSC shall hereby be amended as

follows:

"g.      Directing Defendant Gitman to immediately provide and restore Plaintiff Michael

Dardashtian with full and complete access to all NDAP, CSV and ChannelReply electronic

accounts, including but not limited to, all password access to all codes, accounts on Google

Domain, bank accounts, email accounts, payment portal accounts, and/or any other password-

protected account and information relating to NDAP, CSV and ChannelReply, including all

twenty-two (22) accounts listed in Exhibit 58 to the Affidavit of Michael Dardashtian in support

of the OSC, by no later than 5:00 p.m. on June 9, 201 T';

         ORDERED, that paragraph ''s" on page 8 of the OSC shall hereby be amended as

follows:

"s.      Directing Defendant Gitman, Dalva Ventures, Channel Reply, Inc., Accel Commerce and

any of their owners, members, officers, directors, mangers, employees, subcontractors, agents,

transferees and representatives to return to Plaintiffs all physical and/or electronic copies,

backups, discs, drives, including but not limited to USB drives, or other storage devices

containing copies or originals of any ofNDAP, CSV or ChannelReply's Company Confidential

Information as defined in the CSV Operating agreement, trade secrets, company data or other

property now in Defendant Gitman, Dalva Ventures, Channel Reply, Inc. and Accel Commerce's

possession, custody or control, by no later than 5:00 p.m. on Tuesday, June 13, 2017";




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          ORDERED, that personal service of a copy of this order be served upon all counsel via

electronic mail and shall be deemed good and sufficient service thereof.

Dated: New York, New York

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                                                     Hon. Edgardo\Ramos, U.S.D.J.




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